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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                               WACO DIVISION


LED Wafer Solutions LLC,

                     Plaintiff,               Case No. 6:21-cv-292-ADA
                                             JURY TRIAL DEMANDED
              v.

Samsung Electronics Co. Ltd., and Samsung       FILED UNDER SEAL
Electronics America, Inc.,

                     Defendants,

Seoul Semiconductor Co. Ltd.,

                    Intervenor-Defendant.


   SAMSUNG’S REPLY IN SUPPORT OF ITS MOTION FOR INTER-DISTRICT
       TRANSFER TO THE NORTHERN DISTRICT OF CALIFORNIA
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Exhibits A-X are attached to D.I. 40.

Exhibits Y–LL are attached to the Declaration of Benjamin Luehrs (“Luehrs”), filed concurrently
herewith.

All emphases are added unless otherwise noted.
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       Plaintiff attempts to justify continuing this litigation in WDTX based on non-party

Samsung Austin Semiconductor LLC’s (“SAS”) general presence in this District and irrelevant

witnesses and sources of proof located outside this District. That is legally insufficient to rebut

Samsung’s motion. In re Google LLC, No. 2021-171, 2021 WL 4592280, at *5-6 (Fed. Cir. 2021).

I.     THE RELEVANT SOURCES OF PROOF FAVOR TRANSFER

       All of the most relevant sources of proof are in Asia and NDCA—none are in WDTX.

Technical information—including LED design files and schematics, process flow and operating

specifications, and process recipes—is at Samsung in Korea or at third-party suppliers

       . Br., 2-3, 8-9; Yoon ¶ 12. Sales/marketing information regarding the accused LEDs is also

in Korea, at SSI in NDCA, or with those suppliers                        . Br., 2-4; Yoon ¶ 24. And

critical third-party product prior art evidence is in NDCA. Br., 4-6. See also In re Google LLC,

No. 2021-178, 2021 WL 5292267, at *2 (Fed. Cir. 2021) (custodian locations relevant).

       In response, Plaintiff does not even rely on its purported “principal place of business” in

Waco—a “virtual office” that offers conference space on an hourly basis—demonstrating that the

alleged presence in this District that Plaintiff relied on in its complaint was a transparent attempt

to manufacture venue. Ex. D; Compl. ¶ 4. Such attempts to manufacture venue warrant transfer.

See In re Samsung Elecs. Co., Ltd., 2 F.4th 1371, 1378 (Fed. Cir. 2021). And none of the three

purported sources of proof that Plaintiff identifies is tethered to the parties’ claims or defenses:

       (1) SEA’s Plano location and three Dallas-based employees (Opp, 4-8) do not disfavor

transfer for two reasons. First, Plano and Dallas are in EDTX and NDTX, respectively—not

WDTX. Exs. Y-Z. This factor considers only “the two competing forums”—here NDCA and

WDTX. In re Juniper Networks, Inc., 14 F.4th 1313, 1321 (Fed. Cir. 2021); Super Interconnect

Techs. v. Google LLC, No. 6:21-CV-00259-ADA, 2021 WL 6015465, at *7 (W.D. Tex. Nov. 8,

2021) (error to consider documents in Dallas). Second, SEA’s Plano location and the three Dallas-
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based employees relate only to the marketing/sale of end-user products sold nationwide—not the

accused LEDs. See Ex. II. Plaintiff’s allegations concern LEDs (Compl. ¶¶ 19, 56, 95, 129)—not

end-user products that may incorporate LEDs in addition to many other components. See Polaris

Innovations Ltd. v. Dell, Inc., No. SA-16-CV-451-XR, 2016 WL 7077069, at *5 (W.D. Tex. Dec.

5, 2016) (distinguishing accused technology from devices merely incorporating that technology).

         (2) Plaintiff’s “general counsel” (Opp, 8) does not disfavor transfer because: (1) he “resides

in Dallas”—not WDTX (id.); and (2) his purported “access” to unspecified documents regarding

patent “origination and ownership” appears to refer to assignment records stored in Dallas that are

otherwise publicly available and that cannot outweigh the sources of proof in Asia and NDCA.

         (3) Plaintiff’s argument that Germany-based product prior art source Osram GmbH has a

subsidiary, “Fluence,” in Austin does not disfavor transfer because: (1) the prior art on which

Samsung relies is from Osram, not Fluence; and (2) Fluence was created after the alleged priority

dates of the Patents-in-Suit and thus would not be a prior art source. Luehrs ¶ 16; Ex. AA.

II.      THE RELEVANT THIRD-PARTIES RESIDE IN CALIFORNIA—NOT WDTX

         There are no relevant third parties in WDTX. Samsung identified numerous critical third-

party           and prior art witnesses—including Lumileds 1—in California. Br., 11-12. Plaintiff’s

attempt to ignore those witnesses invites error. In re Hulu, LLC, No. 2021-142, 2021 WL 3278194,

at *3 (Fed. Cir. 2021); Super Interconnect, 2021 WL 6015465, at *4; Proven Networks, LLC., v.

Netapp, Inc., No. W-20-CV-00369-ADA, 2021 WL 4875404, at *3 (W.D. Tex. Oct. 19, 2021).

Plaintiff’s identification of a single individual in Dallas—Lance Bierwirth—does not disfavor

transfer because: (1) he does not have—and Plaintiff does not allege that he has—knowledge

regarding the accused LEDs or any unique knowledge that Samsung cannot otherwise provide;



1
    Samsung served a prior art subpoena on Lumileds after discovery opened. See Exs. JJ, LL.
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and (2) he is located over 100 miles away from the Waco courthouse. Exs. BB, KK.

III.   THE WILLING WITNESS FACTOR FAVORS TRANSFER

       Samsung identified numerous willing witnesses for whom NDCA is clearly more

convenient. Br., 2-4, 6, 12-14 (identifying Samsung engineers in Korea, which include Mssrs.

                                     , (Ex. CC), third-party suppliers                      , (Yoon ¶

27; Exs. W, DD–GG), and SSI Senior Sales Manager                 (Yoon ¶ 22)). In response, Plaintiff

identifies a handful of out-of-district witnesses who cannot tip this factor against transfer.

       First, Plaintiff’s “general counsel”—a lawyer based in Dallas who is apparently the only

witness represented by Plaintiff’s counsel—appears to have minimal if any relevance because he

had no involvement with the conception or prosecution of Plaintiff’s patents, which were acquired

from Israel-based non-party ViaGan Ltd. about one year before Plaintiff filed suit. Ex. E.

       Second, regarding SEA employees Blackard, Diaz, and Repice, Plaintiff persistently (and

contrary to law) conflates general knowledge concerning Samsung’s mobile devices with specific

knowledge about the accused LEDs. SEA’s EDTX employees have knowledge regarding the

marketing/sales of Samsung’s mobile devices. Ex. II. But Plaintiff does not (and cannot) allege

that any of those witnesses has knowledge regarding the accused LEDs. Id. SEA’s employees in

EDTX “do[] not design or develop the accused technical functionality [LEDs], but simply resell[]

it in [Samsung’s] [phones].” Polaris, 2016 WL 7077069, at *4, *9-*10 (testimony concerning

accused functionality outweighs testimony concerning products that merely incorporate that

functionality because the question of infringement “can be resolved by determining whether [the

LED] component[s] [] are infringing”); Fuji Photo Film Co. v. Lexar Media, Inc., 415 F. Supp. 2d

370, 373 (S.D.N.Y. 2006). Accordingly, the location of SEA’s employees cannot outweigh the

relevance of the Samsung and third-party witnesses in Asia and NDCA. Id.

IV.    THERE ARE NO PRACTICAL PROBLEMS WITH TRANSFER TO NDCA
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        Regarding timeliness, Samsung filed its motion on November 26, 2021—nearly fourteen

weeks before the then-scheduled Markman hearing on March 3, 2022 (which was subsequently

rescheduled for April 15) and six weeks sooner than was required under the Court’s deadline for

filing transfer motions without leave. The parties only served discovery on March 23 (with

responses due April 22) and the Markman hearing has not yet occurred.

        SSC’s intervention in this case is irrelevant for two reasons. First, the transfer analysis is

conducted based on the circumstances that existed when the complaint was filed. In re Samsung,

2 F.4th at 1376.     Accordingly, SSC’s subsequent intervention has no bearing on whether

Samsung’s motion should be granted—especially since SSC does not oppose Samsung’s motion

to transfer. Second, Samsung requests transfer of this entire case to NDCA, so it would not “result

in two cases” (Opp, 13). Plaintiff has not separately asserted claims against SSC, who intervened

based on an indemnification related to Plaintiff’s allegations against Samsung. Accordingly, the

entire case should be transferred to NDCA. Jewell v. Music Lifeboat, 254 F. Supp. 3d 410, 422

(E.D. N.Y. 2017) (“[L]itigating the case piecemeal is disfavored when: (1) there is a venue that

would be proper for all the defendants . . . [and] (2) the claims and parties are intertwined . . . .”).

        Unrelated cases in which Samsung moved for intra-district transfer to Austin are irrelevant

because none of those cases involved the accused LEDs. Ex. 24, ¶ 34; Ex. 26, ¶ 2; Ex. HH, ¶¶ 28-

29. And if Plaintiff’s reliance on Samsung’s unrelated general presence in Austin is given any

weight by this Court, that would warrant transfer to the Austin Division.

V.      THE LOCAL INTEREST FACTOR FAVORS TRANSFER

        For a local interest to exist, there must be “significant connections between [this] particular

venue and the events that gave rise to a suit.” In re Apple Inc., 979 F.3d 1332, 1345 (Fed. Cir.

2020) (internal citation omitted). But every fact Plaintiff relies on relates to: (1) non-party SAS;

(2) SEA’s EDTX presence (outside this “particular venue”); (3) Samsung’s “general presence” in
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Texas; or (4) future events—none of which are tethered to the events that gave rise to this suit.

       Job openings at non-party SAS’s offices at 12100 Samsung Boulevard in Austin (Opp, 15;

Ex. 21) are irrelevant because SAS does not design, manufacture, or sell any of the accused LEDs.

SEA’s EDTX employees do not confer a local interest in this District because: (1) local interest

“is based on the principle that jury duty is a burden that ought not to be imposed on the people of

a community which has no relation to the litigation” and jurors drawn from WDTX have no interest

in adjudicating issues involving EDTX residents (Fairfield Indus. Inc. v. Wireless Seismic, Inc.,

2014 WL 4829071 at *4 (E.D. Tex. Sept. 26, 2014)); and (2) SEA’s employees do not have

knowledge regarding the accused LEDs and therefore fail to create any “significant connections

between [WDTX] and the events that gave rise to [this] suit” (Apple, 979 F.3d at 1345; id. at 1346

(connections to NDTX given no weight)). Ex. II. And Plaintiff has not shown (and cannot show)

that Samsung’s future investments in SAS’s presence in Austin are related to the accused LEDs.

Id. at 1345 n.6. And Plaintiff does not dispute that NDCA has a strong local interest. Opp, 14-15.

VI.    THE REMAINING PUBLIC INTEREST FACTORS ARE NEUTRAL

       The Federal Circuit has consistently: characterized the court congestion factor as

“speculative”; held that it does not outweigh other factors; and observed that the time to trial

between WDTX and NDCA is insignificant. See In re Apple Inc., No. 2021-181, 2021 WL

5291804, at *4 (Fed. Cir. Nov. 15, 2021); In re Google LLC, No. 2021-178, 2021 WL 5292267,

at *3 (Fed. Cir. 2021); In re Atlassian Corp. PLC, No. 2021-177, 2021 WL 5292268, at *4 (Fed.

Cir. 2021); In re Netflix, Inc., No. 2022-110, 2022 WL 167470, at *5 (Fed. Cir. Jan. 19, 2022);

Juniper, 14 F.4th at 1322; see also Ex. V (similar filings per judge); Ex. X (similar average/median

time to trial). Moreover, Plaintiff would suffer no prejudice due to a longer time to trial because

it does not compete with Samsung. Finally, Plaintiff agrees the remaining factors are neutral and

it could have brought this action in NDCA.
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                                CERTIFICATE OF SERVICE

       I hereby certify that all counsel of record who have consented to electronic service are
being served with a copy of this document via electronic mail on March 28, 2022.

        I also hereby certify that all counsel of record who have consented to electronic service
are being served with a notice of filing of this document, under seal, pursuant to L.R. CV-5(a)(7)
on March 28, 2022.

                                                     /s/Michael E. Jones




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